Case 2:18-cv-05741-DMG-PLA Document 66 Filed 08/28/18 Page 1 of 1 Page ID #:2811



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

  Case No.     CV 18-5741-DMG (PLAx)                                 Date     August 28, 2018

  Title Lucas R., et al. v. Alex Azar, et al.                                       Page     1 of 1

  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               KANE TIEN                                            NOT REPORTED
               Deputy Clerk                                          Court Reporter

     Attorneys Present for Plaintiff(s)                     Attorneys Present for Defendant(s)
              None Present                                            None Present

  Proceedings: IN CHAMBERS - ORDER RE PLAINTIFF LUCAS R.’S EX PARTE
               APPLICATION [64]

          On August 27, 2018, Plaintiff Lucas R. filed an Ex Parte Application seeking
  reconsideration of the Court’s decision to continue the hearing on his motion for preliminary
  injunction to September 21, 2018 at 9:30 a.m. [Doc. # 64.] Lucas R. represents that Defendants
  do not oppose his request that the Court decide his motion without a hearing, although they do
  oppose his request to hold the hearing on August 31, 2018. [Doc. # 65 at ¶ 2.]

          Good cause appearing, the Court GRANTS Lucas R.’s Ex Parte Application that the
  Court decide the motion without a hearing. In addition, however, the Court orders Defendants to
  file, by September 4, 2018, a declaration from an official from the Office of Refugee
  Resettlement (“ORR”) providing the identities and locations of: (1) the ORR Federal Field
  Specialist with responsibility for supervising the operations of Shiloh Residential Treatment
  Center (i.e., the location of Lucas R.’s confinement), and (2) the ORR Federal Field Specialist
  with responsibility for supervising the operations of St. Michael’s Home for Children shelter
  facility (i.e., the location of Gabriela N.’s confinement). Lucas R.’s motion for preliminary
  injunction shall be taken under submission upon Defendants’ filing of that declaration. The
  remainder of the Court’s August 23, 2018 Order remains in full force and effect. [Doc. # 61.]


  IT IS SO ORDERED.




  CV-90                              CIVIL MINUTES—GENERAL                  Initials of Deputy Clerk KT
